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 8
                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
                               EASTERN DIVISION
10

11
     JULIUS CLARK,                            )        Case No.:
                                              )
12                                            )
                  Plaintiff,                  )        COMPLAINT
13                                            )
                                              )
14                                            )        DEMAND FOR JURY TRIAL
           vs.                                )
15                                            )
                                              )
16                                            )
                                              )
17
     CREDIT ONE BANK,                         )
                                              )
18                                            )
                  Defendant.                  )
19                                            )
                                              )
20

21         Plaintiff, JULIUS CLARK (“Plaintiff”), on behalf of himself, by and
22   through the undersigned attorneys, alleges against the Defendant, CREDIT ONE
23   BANK (“Defendant”), as follows:
24                               NATURE OF THE CASE
25   1.    Plaintiff brings this action on behalf of himself individually seeking
26   damages and any other available legal or equitable remedies resulting from the
27   illegal actions of Defendant, in negligently, knowingly, and/or willfully contacting
28   Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone Consumer



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 1   Protection Act (hereinafter “TCPA”), 47 U.S.C. § 227 et seq., and the Rosenthal
 2   Fair Debt Collection Practices Act, California Civil Code § 1788 et seq.
 3                           JURSIDICTION AND VENUE
 4   2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C.
 5   §227(b)(3). See, Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740 (2012),
 6   holding that federal and state courts have concurrent jurisdiction over private suits
 7   arising under the TCPA.
 8   3.    Venue is proper in the United States, California Central District Court,
 9   Eastern Division, pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within
10   this District and a substantial part of the events or omissions giving rise to the
11   herein claims occurred, or a substantial part of property that is the subject of the
12   action is situated within this District.
13
                                            PARTIES
14   4.    Plaintiff is a natural person residing in Ontario, San Bernardino County,
15   California and is a “person” as defined by 47 U.S.C. § 153 (10) and Cal Civ Code
16   § 1788.2(g).
17   5.    Plaintiff is a “debtor” as defined by Cal Civ Code § 1788.2(h).
18   6.    Defendant is a corporation doing business in the State of California, with its
19   corporate address listed as 585 Pilot Road, Las Vegas NV 89119.
20   7.    Defendant is a “person” as defined by 47 U.S.C. § 153 (10) and Cal Civ
21   Code § 1788.2(g).
22   8.    Defendant is a “debt collector” as defined by Cal Civ Code § 1788.2(c).
23   9.    On information and belief, Defendant is attempting to collect a “consumer
24   debt” from Plaintiff as that term is defined and used in Cal Civ Code § 1788.2(e).
25   ///
26   ///
27   ///
28   ///



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 1
                                   FACTUAL STATEMENT
 2   10.      In or around October of 2015, Plaintiff began receiving automated telephone
 3   calls from Defendant from phone numbers, including but not limited to telephone
 4   number: 951-905-1890.
 5   11.      Defendant used an “automatic telephone dialing system”, as defined by 47
 6   U.S.C. § 227(a) (1) to place its telephone calls to Plaintiff seeking to collect a
 7   consumer debt allegedly owed by Plaintiff, Julius Clark.
 8   12.      Defendant’s calls constituted calls that were not for emergency purposes as
 9   defined by 47 U.S.C. § 227(b)(1)(A).
10   13.      Defendant’s calls were placed to telephone number assigned to a cellular
11   telephone service for which Plaintiff incurs a charge for incoming calls pursuant to
12   47 U.S.C. § 227(b)(1).
13   14.      Defendant called Plaintiff on Plaintiff’s cellular telephone number: 909-573-
14   44xx.
15   15.      Defendant never received Plaintiff’ “prior express consent” to receive calls
16   using an automatic telephone dialing system or an artificial or prerecorded voice
17   on his cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
18   16.      On or about October 10, 2015 at 10:57 A.M., Plaintiff spoke with
19   Defendant, or a representative thereof named “Brian”, and Plaintiff revoked any
20   actual or implied “prior express consent” for Defendant to contact his cellular
21   phone in any manner including the usage of an automatic telephone dialing system
22   or an artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C.
23   § 227(a) (1), 47 U.S.C. § 227(b)(1), and 47 U.S.C. § 227(b)(1)(A).
24   17.      Despite Plaintiff’s revocation of any actual or implied “prior express
25   consent” to the actions as outlined above Defendant did not cease the telephone
26   calls.
27   18.      Between October 10, 2015 and November 4, 2015, Defendant placed
28   approximately 81 (“eighty-one”) calls to Mr. Clark using an “automatic telephone



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 1   dialing system”, as defined by 47 U.S.C. § 227(a) (1) to place its telephone calls to
 2   Plaintiff seeking to collect a consumer debt allegedly owed by Plaintiff, Julius
 3   Clark.
 4
                        FIRST CAUSE OF ACTION
           NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
 5                         PROTECTION ACT
 6                           47 U.S.C. § 227
 7   19.      Plaintiff repeats and incorporates by reference into this cause of action the
 8   allegations set forth above at Paragraphs 1-18.
 9   20.      The foregoing acts and omissions of Defendant constitute numerous and
10   multiple negligent violations of the TCPA, including but not limited to each and
11   every one of the above cited provisions of 47 U.S.C. § 227 et seq.
12   21.      As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
13   Plaintiff is entitled to an award of $500.00 in statutory damages, for each and every
14   violation, pursuant to 47 U.S.C. §227(b)(3)(B).
15   22.      Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
16   the future.
17
                    SECOND CAUSE OF ACTION
       KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
18                 CONSUMER PROTECTION ACT
19                      47 U.S.C. § 227 et. seq.
20   23.      Plaintiff repeats and incorporates by reference into this cause of action the
21   allegations set forth above at Paragraphs 1-22.
22   24.      The foregoing acts and omissions of Defendant constitute numerous and
23   multiple knowing and/or willful violations of the TCPA, including but not limited
24   to each and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
25   25.      As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
26   227 et seq., Plaintiff is entitled an award of $1,500.00 in statutory damages, for
27   each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
28   227(b)(3)(C).



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 1   26.   Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in
 2   the future.
 3
                        THIRD CAUSE OF ACTION
             ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
 4
                  CALIFORNIA CIVIL CODE § 1788.11(d) & (e)
 5   27.   Plaintiff repeats and incorporates by reference into this cause of action the
 6   allegations set forth above at Paragraphs 1-26.
 7   28.   Defendant has called Plaintiff a minimum of 81 (“eighty-one”) times in
 8   violation of 47 U.S.C. § 227 et seq.
 9   29.   Defendant called Plaintiff a minimum of 81 (“eighty-one”) times in the
10   period of 1 month in order to harass Plaintiff.
11   30.   Defendant would call Plaintiff as often as 4-5 times per day.
12   31.   Defendant’s actions are in violation of § 1788.11(d) and (e) of the California
13   Civil Code which prohibits communicating, by telephone or in person, with the
14   debtor with such frequency as to be unreasonable and to constitute harassment to
15   the consumer and prohibits causing a telephone to ring repeatedly and continuously
16   to annoy the person called.
17   32.   As a result of Defendant’s violations of Cal Civ Code § 1788.2(d) and (e),
18   Plaintiff is entitled to an award of no less than $100.00 and up to $1,000.00 for
19   Defendant’s willful and knowing violations per Cal Civ Code § 1788.30(b) plus
20   attorney’s fees and costs per Cal Civ Code § 1788.30(c).
21                                 JURY TRIAL DEMAND
22   33.   Plaintiff demands a jury trial on all issues so triable.
23                               PRAYER FOR RELIEF
24         WHEREFORE, Plaintiff respectfully request that this Court enter judgment
25   against the Defendant, and on behalf of the Plaintiff, for the following:
26   a.    That an order be entered declaring the Defendant’s actions, as described
27         above, in violation of the TCPA and the Rosenthal Fair Debt Collection
28         Practices Act;



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 1   b.    That judgment be entered in favor of Plaintiff against Defendant for each
 2         and every violation of 47 U.S.C. § 227(b)(1)(A)(iii) pursuant to 47 U.S.C. §
 3         227(b)(3)(B);
 4   c.    That the Court award treble damages to Plaintiff for each and every violation
 5         of the TCPA the Court deems willful and knowing;
 6   d.    That judgment be entered in favor of Plaintiff against Defendant for a
 7         violation of the Rosenthal Fair Debt Collection Practices Act;
 8   e.    That the Court award statutory damages to Plaintiff for the Rosenthal Fair
 9         Debt Collection Practices Act violations in accordance with § 1788.30(b) of
10         the California Civil Code; and
11   f.    That the Court grant such other and further relief as may be just and proper.
12
     Dated: January 21, 2016                Respectfully Submitted,
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14                                          LEISINGER LAW, LLP
15
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